           Case: 5:20-cr-00026-DCR-MAS Doc #: 63 Filed: 05/21/21 Page: 1 of 7 - Page ID#: 208
AO 245B (Rev. 09/19) Judgment in a Criminal Case
                      Sheet I



                                          UNITED STATES DISTRICT COURT                                                                 21
                                        Eastern District of Kentucky - Central Division at Lexington

                                                                              )
               UNITED STATES OF AMEIUCA                                       )       JUDGMENT IN A CRIMINAL CASE
                                   v.                                         )
                                                                              )
                            Cheikh Gueye                                      )       Case Number:            5:20-CR-026-DCR-01
                                                                              )       USM Number:             23152-032
                                                                              )
                                                                              )       Robert L. Abell
                                                                              )       Defendant's Attorney
 THE DEFENDANT:
 IZI pleaded guilty to count(s)      I & 2 [DEii !]
                                    --~--~--------------------------------
 •   pleaded nolo contendere to count(s)
     which was accepted bv the court.
 D was found guilty on count(s)
     after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

 Title & Section      Nature of Offense                                                                                   Offense Ended             Count
     l 8:2113(a)      Bank Robbery                                                                                       December 11, 2019          1&2




        The defendant is sentenced as provided in pages 2 through             _ _7~_ of this judgment. The sentence is imposed pursuant to
 the Sentencing Reform Act of 1984.
 D The defendant has been found not guilty on count(s)

 D Count(s)                                                       D    is    D    are dismissed on the motion of the United States.
               ----------------
          It is ordered that the defendant must notify lhe United States attorney for this district within 30 days of any change of name, residence,
  or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
  the defendant must notify the court and United States attorney of material changes in economic circumstances.



                                                                                                                       7
                                                                              Signature                      -,.:.___;;('"
                                                                                                            {/
                                                                             Honorable Danny C. Reeves, Chiefu
                                                                             Name and Title of Judge

                                                                              Ma 21 2021
                                                                              Date
             Case: 5:20-cr-00026-DCR-MAS Doc #: 63 Filed: 05/21/21 Page: 2 of 7 - Page ID#: 209
AO 245B (Rev. 09/19)     Judgment in a Criminal Case
                         Sheet 2 - Imprisonment

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 DEFENDANT:                   Chcikh Gucye
 CASE NUMBER:                 5: 20-CR-026-DCR-01

                                                                  IMPRISONMENT

             The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of:

                                Forty-six (46) months on each of Counts One and Two, to run concurrently,
                                                 for a total term of forty-six (46) months.

       l2l       The court makes the following recommendations to the Bureau of Prisons:
                 That the defendant participate in the Dual-Diagnosis Program.




       IZl       The defendant is remanded to the custody of the United States Marshal.

       D         The defendant shall sun-ender to the United States Marshal for this district:

             D      at                                 D a.m.     D p.m.          on
                         ---------                                                     -----------

             D      as notified by the United States Marshal.

       D         The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

             D      before 2 p.m. on
             •      as notified by the United States Marshal.
             D      as notified by the Probation or Pretrial Services Office.


                                                                        RETURN
 I have executed this judgment as follows:




             Defendant delivered on                                                              to

 at                                                         with a certified copy of this judgment.


                                                                                                         UNITED STA TES MARSHAL


                                                                                By
                                                                                                      DEPUTY UNITED STATES MARSHAL
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AO 245B (Rev. 09/19) Judgment in a Criminal Case
                     Sheet 3 - Supervised Release

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 DEFENDANT:                 Cheikh Gueye
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                                                      SUPERVISED RELEASE
 Upon release from imprisonment, you will be on supervised release for a term of:
                           Three (3) years on each of Counts One and Two, to run concurrently,
                                             for a total term of three (3) years.



                                                    MANDATORY CONDITIONS

  I.   You must not commit another federal, state or local crime.
  2.   You must not unlawfully possess a controlled substance.
  3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
       imprisonment and at least two periodic drug tests thereafter, as determined by the court.
               D The above drng testing condition is suspended, based on the court's determination that you
                   pose a low risk of future substance abuse. (Check, if applicable.)
  4.   •   You must make restitution in accordance with 18 U .S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
           restitution. (Check, if applicable.)
  5.   IZI You must cooperate in the collection of DNA as directed by the probation officer. (Check, if appUcable.)
  6.   D You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
           directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
           reside, work, are a student, or were convicted of a qualifying offense. (Check, if applicable.)
  7.   D You must participate in an approved program for domestic violence. (Check, if applicable.)

  You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
  page.
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AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 3A - Supervised Release
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 DEFENDANT:                 Cheikh Gueyc
 CASE NUMBER:               5 :20-CR-026-DCR-01

                                                STANDARD CONDITIONS OF SUPERVISION


   As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
   because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
   officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

   I.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
         release from imprisonment, unless the probation officer instrncts you to report to a different probation office or within a different time
         frame.
   2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
         when you must report to the probation officer, and you must report to the probation officer as instructed.
   3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
         court or the probation officer.
   4.    You must answer truthfully the questions asked by your probation officer.
   5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
         arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
         the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
         hours of becoming aware ofa change or expected change.
   6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
         take any items prohibited by the conditions of your supervision that he or she observes in plain view.
   7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
         doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
         you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
         responsibilities), you must notify the probation officer at least IO days before the change. If notifying the probation officer at least I 0
         days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of becoming
         aware of a change or expected change.
   8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
         convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
         probation officer.
   9.    If you are an-ested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
   10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
         designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
   11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
         first getting the permission of the court.
   12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
         require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
         person and confirm that you have notified the person about the risk.
   13.   You must follow the instructions of the probation officer related to the conditions of supervision.




  U.S. Probation Office Use Only

  A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
  judgment containing these conditions. For further information regarding these conditions, see Overview ofProbation and Supervised
  Release Conditions, available at: www.uscourts.gov.
                                                                                                Date _ _ _ _ _ _ _ _ _ _ _ _ __
  Defendant's Signature
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                       Sheet 3D - Supervised Release

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                                                                                                      ---
 DEFENDANT:                 Cheikh Gucyc
 CASE NUMBER:               5:20-CR-026-DCR-0 I


                                              SPECIAL CONDITIONS OF SUPERVISION

     1. You must attend and successfully complete any mental health diagnostic evaluations and treatment or
        counseling programs at the direction and discretion of the United States Probation Office.

    2. You must participate in a substance abuse treatment program and must submit to periodic drug and alcohol
       testing at the direction and discretion of the United States Probation Office.

     3. You must abstain from the use of alcohol.

     4. If you are deported, you must not re-enter the United States without the permission of the U.S. Bureau of
        Immigration & Customs Enforcement and/or the Attorney General. However, if you would re-enter the
        United States during the effective te1m of supervision, you must report to the closest U.S. Probation Office
        for service of supervision.
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AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 5 - Criminal Monetary Penalties

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 DEFENDANT:                  Cheikh Gucyc
 CASE NUMBER:                5:20-CR-026-DCR-Ol

                                                   CRIMINAL MONETARY PENALTIES

        The defendant must pay the total criminal moneta1y penalties under the schedule of payments on Sheet 6.

                   Assessment                           Restitution                                         AV AA Assessment*      JVTA Assessment**
 TOTALS         $ 200 ($ 100/Count)                $ 0                               $ Waived             $ NIA                 $ N/A


 D    The determination of restitution is deferred until                             An Amended Judgment in a Criminal Case (AO 245C) will be entered
      after such determination.
 D    The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

       If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
       the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
       before the United States is paid.

 Name of Payee                                    Total Loss***                            Restitution Ordered                  Priority or Percentage




 TOTALS                                    $ _ _ _ _ _ _ __                            $ _ _ _ _ _ _ _ __


 D    Restitution amount ordered pursuant to plea agreement $

 D    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(!). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 D    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      D    the interest requirement is waived for the                 D       fine   D     restitution.

      D    the interest requirement for the              D     fine       D      restitution is modified as follows:

 • Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
 •• Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
 ••• Findings for the total amount of losses arc required under Chapters 109A, 110, I JOA, and 113A of Title 18 for offenses committed on or
 after September 13, 1994, but before April 23, 1996.
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AO 245B (Rev. 09/19) Judgment in a Criminal Case
                     Sheet 6 -Schedule of Payments

                                                                                                                     Judgment -Page _ _7_ _ of             7
 DEFENDANT:                 Cheikh Gueye
 CASE NUMBER:               5:20-CR-026-DCR-0 I

                                                             SCHEDULE OF PAYMENTS

   Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

   A     131    Lump sum payment of$        200.00                      due immediately, balance due

                •     not later than                                       , or
                131   in accordance with    •        C
                                                         '   •     D,     •       E, or       131 F below; or

   B     •      Payment to begin immediately (may be combined with                        •     C,    •    D, or      •   F below); or

   C     D      Payment in equal _ _ _ _ _ _ (e.g.. weekly. monthly. quarterly} installments of $ _______ over a period of
                             (e.g., months or years), to commence _ _ _ _ _ (e.g., 30 or 60 days) after the date of this judgment; or

   D     D      Payment in equal _ _ _ _ _ _ (e.g., weekly, monthly, quarterly) installments of $ _ _ _ _ _ _ over a period of
                             (e.g., months or years), to commence _ _ _ _ _ (e.g., 30 or 60 days) after release from imprisonment to a
                term of supervision; or

   E     D      Payment during the term of supervised release will commence within    _ _ _ _ _ (e.g., 30 or 60 days) after release from
                imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

   F     IZI    Special instructions regarding the payment of criminal monetary penalties:

                Criminal monetary penalties arc payable to:
                Clerk, U. S. District Court, Eastern District of Kentucky
                101 Barr Street, Room 206, Lexington, KY 40507

                INCLUDE CASE NUMBER WITH ALL CORRESPONDENCE

         Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
         the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
         Responsibility Program, arc made to the clerk of the court.

         The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

   D     Joint and Several

        Case Number
        Defendant and CoNDefendant Names
        fincluding defendant number)                             Total Amount             Joint and Several Amount   Corresponding Payee, if appropriate



   D    The defendant shall pay the cost of prosecution.

   D    The defendant shall pay the following court cost(s):

   D    The defendant shall forfeit the defendant's interest in the following property to the United States:


   Payments shall be applied in the following order: ( 1) assessment, (2) restitution principal, (3) restitution interest, (4) AV AA assessment,
   (5) fine principal, (6) fine interest, (7) community restitution, (8) NTA assessment, (9) penalties, and (10) costs, including cost of
   prosecution and court costs.
